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                                                               MICHAEL J. KANE SHAREHOLDER
                                                                   d 215.875.4686 mkane@bm.net


                                             May 5. 2025



  VIA ECF

  The Honorable Magistrate
  Judge Joseph A. Marutollo
  United States District Court for the
   Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

         Re:     In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                 Case No. 1:05-MD-1720-(MKB)(VMS)

  Dear Judge Marutollo:

           On April 11, 2025, the Court issued a text order requiring Class Counsel to file its next
  monthly status report on May 7, 2025. We respectfully request a brief extension until May 16 to
  file the report due to extenuating circumstances. One of the Class Counsel, Alexandra Bernay,
  suffered a medical emergency. Ms. Bernay has had primary responsibility for addressing the
  third-party issues in Class Counsel’s monthly reports. Class Counsel cannot submit a complete
  and accurate monthly status report on third party issues without Ms. Bernay’s input. The
  requested extension will provide the time necessary for Ms. Bernay to recover so that she can
  participate in drafting the next status report.

                                                       Respectfully submitted,

                                                       /s/ Michael J. Kane
                                                       Michael J. Kane

  MJK/sll




                                                             1818 MARKET STREET, SUITE 3600
                                                             PHILADELPHIA, PA 19103
                                                             215.875.3000 BERGERMONTAGUE.COM
